 4:23-cr-03051-JMG-JMD Doc # 237 Filed: 05/23/24 Page 1 of 2 - Page ID # 1505




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
                                                            4:23CR3051
                    Plaintiff,
      vs.                                                     ORDER
JACK OLSON,
                    Defendant.

      Defendant Jack Olson has moved to continue the trial (Filing No. 236)
because a Superseding Indictment has been filed with additional allegations and
voluminous discovery has been produced in relation to the new charges. The new
charges require additional time to prepare for trial. The motion to continue is
unopposed. Based upon the showing set forth in the motion, the court finds good
cause has been shown and the motion to continue should be granted. Accordingly,

      IT IS ORDERED:

      1) Defendant’s unopposed motion to continue (Filing No. 236) is granted.

      2) The trial of this case is set to commence before the Honorable John M.
         Gerrard, Senior United States District Judge, in Courtroom 1, United
         States Courthouse, Lincoln, Nebraska, at 9:00 a.m. on September 23,
         2024, or as soon thereafter as the case may be called, for a duration of
         five (5) trial days. Jury selection will be held at commencement of trial.


      3) The court finds that the ends of justice will be served by granting this
         continuance and outweigh the interests of the public and the defendant
         in a speedy trial. Any additional time arising as a result of the granting of
         this motion, that is, the time between today’s date and September 23,
         2024, shall be deemed excludable time in any computation of time under
         the requirements of the Speedy Trial Act, because although counsel have
         been duly diligent, additional time is needed to adequately prepare this
         case for trial and failing to grant additional time might result in a
         miscarriage of justice. 18 U.S.C. § 3161(h)(1) & (h)(7). Failing to timely
4:23-cr-03051-JMG-JMD Doc # 237 Filed: 05/23/24 Page 2 of 2 - Page ID # 1506




       object to this order as provided under this court’s local rules will be
       deemed a waiver of any right to later claim the time should not have been
       excluded under the Speedy Trial Act.

    Dated this 23rd day of May, 2024.

                                            BY THE COURT:

                                            s/ Jacqueline M. DeLuca
                                            United States Magistrate Judge




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